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                                                         August 19, 2019                        ALFA INTERNATIONAL
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        Honorable Paul S. Diamond
        United States District Court, Eastern District of Pennsylvania
        U.S. Courthouse
        601 Market Street, Room 14614
        Philadelphia, PA 19106-1743

                     Re:     Minto v. Rumer, et al
                             Civil Action No. 18-2800
                             Our File No. 2710-216

        Dear Judge Diamond:

                 Please be advised that the parties have reached an agreement to submit the above-
        captioned matter to binding high-low arbitration. The Court can remove the matter from its trial list for
        trial beginning Monday, September 3, 2019.

                     I thank you for your attention in this regard.

                                                                   Respectfully yours,

                                                                   GERMAN, GALLAGHER & MURTAGH, P.C.


                                                                   BY: /s/ Chilton G. Goebel, III
                                                                           Chilton G. Goebel, III

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